                        UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF NORTH CAROLINA
                            DOCKET NO. 1:23-cv-114

-----------------------------------------------------------------X
JOHN DOE

                               Plaintiff,

      -against-

WAKE FOREST UNIVERSITY,

                                Defendant.
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                           PLAINTIFF’S MOTION FOR
                     LEAVE TO PROCEED UNDER PSEUDONYM

      Plaintiff John Doe moves this Court for leave to proceed under pseudonym. In

support of this motion, Plaintiff will file contemporaneously a declaration and

memorandum which are incorporated by reference herein.

DATED:         New York, New York
               February 7, 2023

                                               Respectfully submitted,

                                               NESENOFF & MILTENBERG, LLP
                                               Attorneys for Plaintiff

                                               By: /s/ Andrew Miltenberg
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                                         -and-

                                         EKSTRAND AND EKSTRAND, LLP
                                         By: /s/ Robert Ekstrand
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                            CERTIFICATE OF SERVICE

      I certify that on this 7th day of February 2023, I filed the foregoing using the

CM/ECF system, which will provide notice to all counsel of record. Further, the foregoing

will be served on the Defendant, Wake Forest University, with the Complaint and

Summons issued by the Court.


                                                 /s/ Robert C. Ekstrand
                                                 Robert C. Ekstrand
                                                 Counsel for Plaintiff




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